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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

JANE DOE, ET AL.,
Plaintiffs,
v.
DONALD J. TRUMP, in his official
capacity as President of the United States,

1600 Pennsylvania Ave., N.W.
Washington, D.C. 20006;

Civil Action No:

MITCH MCCONNELL

Majority Leader of the United States Senate
317 Russell Senate Office Building

2 Constitution Avenue NE

Washington, DC 20510

THE FOX CORPORATION,

dba Fox News Channel

c/o 400 N. Capitol Street NW, #550
Washington, DC 20001

Does 1-100

Defendants.

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COMPLAINT FOR DECLARATORY, INJUNCTIVE, AND MANDAMUS RELIEF
CONSTITUTIONAL QUESTIONS

This is a civil action for declaratory, injunctive, and mandamus relief brought under The
Civil Rights Act of 1964, Pub.L. 88-352, 78 Stat. 241 (1964) (“CRA”); 42 U.S. Code § 1981(c)
(Equal rights under the law - Protection against impairment); 42 U.S. Code § 1983, (Civil action
for deprivation of rights); 42 U.S. Code § 1985 (Conspiracy to interfere with civil rights); 42

U.S. Code § 1986, (Action for neglect to prevent); Voting Rights Act, 52 U.S.C. §§ 10101-

 

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10102, and 10301-10302, (“VRA”); 15 U.S. Code § 45 (Unfair methods of competition
unlawful; prevention by Commission); 15 U.S. Code § 52 (Dissemination of false
advertisements); 15 U.S. Code § 54, (False advertisements; penalties); and under the Declaratory
Judgment Act, 28 U.S.C. §§ 2201 and 2202; and Articles I, II, III, fV of the Constitution; and the
First, Fifth, Ninth and Fourteenth Amendments to the Constitution which imposes on the
President and elected members of Congress a duty to “take care that the laws be faithfully
executed,” challenging actions of the President; The Fox Corporation dba Fox News; the leader
of the U.S. Senate, Senator Mitch McConnell; and other members of Congress, members of the
Trump Administration and Cabinet yet unnamed and referenced herein as “Does 1-100”
(collectively, the “Defendants”) as violating their duties under the Constitution, violating the

civil rights and voting rights of Plaintiffs and thereby causing injury to Plaintiffs.

JURISDICTION AND VENUE

This Court has personal and subject-matter jurisdiction over this action pursuant to 28
U.S.C. § 1331 (Federal question; action arising under the laws of the United States); 42 U.S.
Code § 1988 (Proceedings in vindication of civil rights); 15 U.S. Code § 53 (False
advertisements; injunctions and restraining orders); 52 U.S.C. § 10101(d) (Jurisdiction); 52
U.S.C. § 10101(c) (Preventive relief-injunction); 28 U.S.C. § 1361 (mandamus); and 28 U.S.C.

§§ 2201 and 2202 (the Declaratory Judgment Act).

Venue in this district is proper pursuant to 28 U.S.C. § 1391(e)

 

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REQUEST FOR APPOINTMENT OF COUNSEL

Pursuant to Local Civil Rule 83.11 Plaintiff requests appointment of counsel. The
Constitutional issues before the court in this complaint have significant public interest and she is
representative of a class of disenfranchised voters, not limited to those who voted in 2020, but
may include those who voted, or failed to vote in 2016 due to Russian interference; those who
voted for Barack Obama in 2008 and 2012 and for Al Gore in 2000; and who voted for U.S. and

State Senators and House representatives who are Democrats.

PARTIES

Plaintiff (hereafter “Jane Doe”) brings this action in behalf of herself and others similarly
situated who are disenfranchised Biden voters in the 2020 Presidential election and who reside in
different states. Members of the representative class include but are not limited to 2020
Biden/Harris voters. Jane Doe is a disabled senior citizen known to be at higher risk of serious
health complications and death if exposed to the COVID-19 virus. She voted by mail in 2020.
She resides in a “swing” State where the majority of voters did in fact vote to elect former Vice
President Joe Biden and Senator Kamala Harris to the offices of President and Vice President
respectively in the 2020 election. Additionally she failed to vote for Hillary Clinton in the 2016
election because she believed the Russian disinformation campaign targeting Clinton and

favoring Trump.

Defendants Donald J. Trump, Mitch McConnell (hereafter “Trump” or “McConnell”) and
similarly situated Does have been elected to “Offices of Public Trust” located in Washington

DC. Defendant The Fox Corporation et al, hereafter referred to as “Defendant Fox” is a media

 

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conglomerate owned by Rupert Murdoch and his family headquartered in NYC; their television
broadcasts reach millions of American voters including Plaintiffs in every U.S. state and in
Washington D.C. Does 1-100 include yet unnamed and/or unknown co-conspirators in
Defendants’ scheme to deprive Plaintiffs of their civil rights. Some Does may be similarly

situated to Defendant Fox.

DEFENDANTS’ CONSTITUTIONAL OBLIGATION AND DUTY TO VOTERS, INCLUDING PLAINTIFFS
Article II, Section 1, Clause VIII of the United States Constitution requires Trump to take
the following oath before taking office:

“T do solemly swear (or affirm) that I will faithfully execute the Office of President of the
United States, and will to the best of my Ability, preserve, protect and defend the
Constitution of the United States.”

McConnell, along with all U.S. Senators, some whom may be yet unnamed Does herein,
are required by 5 U.S. Code § 3331 to take the following oath:

“I, AB, do solemnly swear (or affirm) that I will support and defend the Constitution of
the United States against all enemies, foreign and domestic; that I will bear true faith and
allegiance to the same; that I take this obligation freely, without any mental reservation
or purpose of evasion; and that I will well and faithfully discharge the duties of the office

on which I am about to enter. So help me God.”

Trump, McConnell and similarly situated Does have each individually and collectively
acted in conspiracy to violate their respective oaths of office and deprive Jane Doe and others of
their civil rights under color of law; and of their voting rights. They have openly and blatantly
failed to preserve, protect and defend the Constitution of the United States against all enemies,

foreign and domestic.

 

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Violations of Duty to Protect

Those who stand by and permit civil rights violations are as culpable as those who

perpetrate the violations. 42 U.S. Code § 1986 states:

“Every person who, having knowledge that any of the wrongs conspired to be done, and
mentioned in section 1985 of this title, are about to be committed, and having power to
prevent or aid in preventing the commission of the same, neglects or refuses so to do, if
such wrongful act be committed, shall be liable to the party injured, or his legal
representatives, for all damages caused by such wrongful act, which such person by
reasonable diligence could have prevented ; and such damages may be recovered in an

action on the case; and any number of persons guilty of such wrongful neglect or refusal
may be joined as defendants in the action...”

McConnell and Republican Senators and House Members have a duty to protect our civil
rights. Their neglect of duty makes them culpable. They either participated in or stood by and
allowed Trump to weaponized the Covid-19 pandemic causing at least 230,000 unnecessary
deaths. They either incited, or allowed Trump and others to incite violence and attack the votes
of millions of Americans to delegitimize the 2020 election. They either participated in, or failed
to stop Trump’s coup attempts and efforts to block the peaceful transition of presidential power.
All of this could have been prevented had Republican Senators not been derelict in their
constitutional duty during the Senate impeachment trial of Trump. Their negligence of duty has
deprived Plaintiffs’ of their most fundamental rights under the U.S. Constitution and has caused

significant injury.

“SOMEONE'S GOING TO GET KILLED... IT'S JUST WRONG”

Top election official in Georgia, Gabriel Sterling, December 1, 2020

 

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Harassment and death threats against officials overseeing Georgia’s recount prompted
Sterling to speak out publically after President Trump and other top Republican leaders attacked
Georgia's election system:

“Someone's going to get hurt, someone's going to get shot; someone's going to get killed.
It's not right. A 20-something tech in Gwinnett County today has death threats and a
noose put out saying he should be hung for treason because he was transferring a report
on batches from an EMS to a county computer so he could read it...His family is getting
harassed now. There's a noose out there with his name on it. And it's not right. You have
to be responsible in your rhetoric, you have to be responsible in your statements, you

have to be responsible in your deeds....It has to stop!”
How did we get here?

It didn’t happen overnight. The past decade has seen a steady gradual erosion of our
Constitution’s governing principles. The accumulation of numerous unconstitutional rules, acts
and assumptions that have remained unchallenged bring us to this point of disaster. The fear felt
by that “20-something tech in Gwinnett County” is felt by Americans all over this country who
has been attacked for something as simple as wearing a mask to protect themselves from a

pandemic. It has to stop! This court has the power to stop it.

SUMMARY OF CONSTITUTIONAL QUESTIONS

Jane Doe through this action seeks injunctive and mandamus relief to prevent further
injury, and declaratory relief as to the constitutionality of Defendants’ injurious and oft times
criminal acts made against them. She is not asking the court to ascertain a criminal conviction
even though defendants have conspired to commit crimes; but to decide whether it is
constitutional to ignore Defendants crimes and fail to investigate or prosecute them. Essentially

she wants this court to specify whether those with political power and wealth above the law.

 

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The rule of law, the separation of powers inherent in our Constitution and Bill of Rights,
our voting rights, and civil rights have been systematically attacked by Defendants with intent to
undermine our democracy for their own personal gains and retention of political power against
the will of the people. Defendants’ predicate offences span more than a decade and have
culminated with the presidency of Trump putting the United States in a very dangerous situation
that threatens our nation’s sovereignty, national security, standing in the world, as well as the
voting and civil rights of its citizens. The rapidity of Trump’s new offenses since the election is
designed to sabotage the success of the newly elected President Biden and set the stage for ever
more hostile attacks on the voting and civil rights of Defendants’ opponents and to incite ever
more increasing violence against their political opponents and voters of their opponents. Their
collective intent is to further erode of the rule of law, undermine the government and cause civil
unrest. The Supreme Court explained in Jannelli v. United States, 420 U.S. 770, 778 (1975):

“collective criminal agreement— partnership in crime—presents a greater potential

threat to the public than individual delicts. Concerted action both increases the

likelihood that the criminal object will be successfully attained and decreases the
probability that the individuals involved will depart from their path of criminality. Group
association for criminal purposes often, if not normally, makes possible the attainment of
ends more complex than those which one criminal could accomplish. Nor is the danger
of a conspiratorial group limited to the particular end toward which it has embarked.

Combination in crime makes more likely the commission of crimes unrelated to the

original purpose for which the group was formed...the danger which a conspiracy

generates is not confined to the substantive offense which is the immediate aim of the
enterprise.” Callanan v. United States, supra, at 593-594.

Conspiracy is a separate offense under most criminal conspiracy statutes, and is
prosecutable regardless of whether the conspiracy accomplishes its objective. The United States
Code contains dozens of criminal conspiracy statutes that were enacted to protect Plaintiffs. U.S.
Attorney General William Barr, although charged with a duty to enforce these civil rights laws,

has instead himself engaged in Defendants’ criminal conspiracy and acts to cover up for

 

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Defendants and protects them. Statues that are unequally enforced violate Plaintiffs’ Fifth and

Fourteenth Amendment rights to due process and equal protection of the laws.

18 U.S. Code § 4 (Misprision of felony) and 18 U.S. Code § 2382 (Misprision of treason)
make it criminal for whomever, having knowledge of the actual commission of a felony or
treasonous act cognizable by a court of the United States, to conceal it and not report it to proper
authorities; ie. those with prosecutorial power to enforce the laws. Defendants and their yet
unnamed co-conspirators are enabled by public servants who know their acts to be illegal and
unconstitutional; and who took constitutionally mandated oaths yet notwithstanding remained

silent and did nothing to stop Defendants’ criminal or unconstitutional acts.

Jane Doe prays the court appoint Neal Katyal or Andrew Weisman or an attorney equally
knowledgeable of constitutional law and skilled in presenting oral arguments in a court to

adequately represent the public interest in these matters.

Constitutional Questions

1. Would Defendants acts as explained in the body of this complaint be cognizable as

felonies or acts of treason by this court?

2. Is it constitutional for a U.S. Attorney General to act as a personal attorney for a president
and/or cover-up his/her crimes and/or the crimes of his/her co-conspirators; or investigate

or fail to prosecute for political reasons?

3. Is it constitutional for an incoming presidential administration to ignore such crimes; or

worse to pardon such crimes?

 

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Is presidential pardon power absolute, or does the U.S. Constitution imply limits on

presidential pardons?

Is it constitutional for a president to pardon a witness to his own crimes effectively

assuring that witness’ silence?

Trump pardoned Michael Flynn, his first National Security Advisor, a co-conspirator
with the Russians in Trump’s 2016 campaign. The Justice Department requires that
anyone requesting a pardon wait five years after conviction or release prior to receiving a
pardon; 28 C.F.R. § 1.2 (Eligibility for filing petition for pardon. It has not been five
years since Flynn’s conviction. Is Trump’s pardon of Flynn constitutional? I s it

constitutional for any president to pardon co-conspirators in his/her conspiracy crimes?

If not then it would Trump’s pardon of Flynn be illegal and therefore null and void?

The pardon power was designed by the Framers to permit a president, at his discretion, to
correct the mistakes of the judicial process. Is a presidential pardon without judicial

process constitutional?

Is it constitutional for a president to pardon him/herself of future unindicted crimes?

The constitutionality of open pardons, such as Ford's pardon of Nixon, is an unresolved

issue of great importance today and for the future, was that pardon constitutional?

Does the impeachment exception to Article II, Section 2 of the United States Constitution

refer only to the impeachment “trial” a word not used in the text, or does it refer to any

 

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crime related to the impeachment process, such as encouraging non-compliance with

subpoenas or suborning perjury of a witness with a promise of pardon?

Was Trump’s Senate impeachment trial; held without witness; yet with jurors who

publicly said they would not convict before the trial even began, constitutional?

A 60-vote supermajority was required to advance all federal judicial nominees and
executive-office appointments for four decades. Then in 2013 the Democrat-controlled
Senate voted 52-48 to reduce the vote threshold for confirming nominees from 60 to 51
for all but Supreme Court Justices. In 2017 in a retaliatory political tit-for-tat the
Republican-controlled Senate voted 52-48 to reduce the vote threshold for confirming
nominees to the Supreme Court. This has resulted in a highly politicized Supreme Court
and a dramatic loss of public confidence in the impartiality ofall federal courts. The
effect of these rule changes undermines our separation of powers and feeds political
polarization which undermines bi-partisan cooperation in Congress which in the end

injures the public. Were these rule changes constitutional?

If the answer to question 12 is “no” then to restore the constitutional balance of powers
must the 60-vote supermajority be restored and must the confirmations of federal and
Supreme Court justices during the unconstitutional Senate rule be revoked, with each

justice given a chance for re-confirmation under the restored 60-vote supermajority?

It is in the public best interest to have the brightest and most accomplished apolitical
legal minds in our federal judgeships. The reason for the Senate rule change in 2013 was

that Republicans were abusing the filibuster for political rather than practical reasons to

 

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block then President Obama’s nominees. During the Trump presidency the public
witnessed numerous abuses of power and a complete inability to enforce constitutional
checks and balances to prevent them. Restoring the 60-vote supermajority with the
existing political polarization will just put executive nominations in a deadlock again.
This dynamic injures voters. To ensure bi-partisan cooperation and the effectiveness of
constitutional checks and balances: must the restored senate rules include serious

consequences for abuse of the filibuster, and power to enforce those consequences?

In 588 U.S. (2019), Rucho y. Common Cause, No. 18-422 the Supreme Court's

 

Republican majority concluded that even though:

“Excessive partisanship in districting leads to results that reasonably seem
unjust...But the fact that such gerrymandering is incompatible with democratic
principles does not mean that the solution lies with the federal judiciary.”

The Courts descending faction of Democratic Justices concluded:
“(T)he partisan gerrymanders here debased and dishonored our democracy,
turning upside-down the core American idea that all governmental power derives
from the people... These gerrymanders enabled politicians to entrench themselves
in office as against voters’ preferences. They promoted partisanship above respect
for the popular will. They encouraged a politics of polarization and dysfunction. If

left unchecked, gerrymanders like the ones here may irreparably damage our
system of government. And checking them is not beyond the courts.”

This is an example of how the politicization of our Supreme Court results in unfair
discriminatory decisions. The Republican majority Justices of the Supreme Court owe
their judgeships specifically to Republican gerrymandering. Under these circumstances

is the Republican faction’s decision in this case about gerrymandering constitutional?

 

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If answer to #16 is “no” and if that decision is upheld in the Appeals Court, would it be
constitutional for a politicized Supreme Court, such as we currently have, to review the

Appeal Court’s decision when it would essentially be the court judging itself?

Partisan gerrymandering has led to more direct voter suppression, specifically in
“battleground” states; thereby disenfranchising voters in other states. The unjust affects

of political gerrymandering is exponentially magnified by the “winner-take-all” feature of
the Electoral College, not specified in the Constitution, where a presidential candidate

who narrowly wins the tipping-point states wins the presidency, regardless of the margin
of victory in the rest of the country. In early presidential elections most states didn’t
award their electors on a winner-take-all basis. Even today Nebraska and Maine don’t.
It’s not accidental that states targeted for political gerrymandering are the same
battleground states targeted for the electoral vote. Is this defining feature of today’s

Electoral College, unintended by our Founding Fathers, constitutional?

In congressional testimony during the House impeachment inquiry of President Trump
former special prosecutor Robert Mueller admitted he did not consider an indictment of
Trump due to a long-standing Justice Department policy based on a memo from its Office
of Legal Counsel that a sitting president cannot be indicted for a federal crime. The
assumption was that a criminal president would be removed from office through
impeachment. Trump is referenced as “Individual-1” in the criminal indictment of
Trump’s personal attorney Michael Cohen in the United States District Court Southern
District of New York, case 1:18-cr-00602-WHP. Cohen testified that he committed his

crimes with the knowledge of and at the direction of Trump. Americans have witnessed

 

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firsthand Trump’s propensity to engage in criminal activities. Americans have also
witnessed the failure of impeachment as a constitutional check on a criminal president.

In light of these facts is the DOJ OLC memo constitutional?

Russia engaged in an undeclared war against the United States. Falsehoods calculated by
former KGB operative, Vladimir Putin, and his Russian government were intended to
inflict division, pain, suffering and death on U.S. civilians; disrupt the U.S. economy; and
demolish the U.S. government. Since Trump won the 2016 election with the assistance
of Russia, Defendants have acted lockstep with Russian operatives. Their actions have
achieved the Russian objective. Within 11 months Defendants’ Covid-19 disinformation
campaign promoting what they knew was false information originating with Russian
agents resulted in the deaths of 262,000 Americans. For comparison battle deaths in:
World War II (1941 -1945) = 291,557; Korean War (1950-1953) = 33,739; Vietnam War
(1964-1975) = 47,434; Desert Storm (1990-1991) = 148. To give perspective to the
magnitude of death inflicted on the U.S. by Russia and Defendants: 220 U.S. service
personnel died on average per day during WWI, that’s 6,600 deaths/month, so during the
first 11 months of WWII there were 66,000 deaths, in comparison 11 months of the
Trump/Russia/Fox disinformation campaign about the Covid-19 pandemic caused
262,000 deaths. Russia’s undeclared war on the United States, aided and abetted by
Defendants, has resulted in more deaths than the U.S. has experienced in any war fought
with traditional weapons of war. Cyber war, a relatively new technology, being
weaponized by bad actors on the international stage has significant and deadly

consequences. This type of warfare, directed not just at the United States but at

 

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democracies world-wide, will continue to increase in frequency and ferocity unless and
until consequences suffered by those who enact such warfare on other nations is adequate
to deter them. Is it constitutional for Congress to allow this warfare to continue
unacknowledged and unabated, particularly when domestic actors, including Defendants,

aid and abet foreign adversaries in carrying out their acts of war against Americans?

Trump, unopposed by Republicans, has consistently done things while in power that
exclusively benefit Vladimir Putin and his government. Recent headlines are a perfect
example of hundreds of similar acts:

“Trump Exits Open Skies Treaty, Moves to Discard Observation Planes; Without

specialized aircraft and equipment, Biden administration would have difficult
time re-entering post-Cold War pact.”

Putin’s Russia is the benefactor of this Trump decision. 18 U.S. Code § 2381 states:
“Whoever, owing allegiance to the United States, levies war against them or

adheres to their enemies, giving them aid and comfort within the United States or
elsewhere, is guilty of treason...”

Death is NOT the only option for punishment. The same definition of treason is in
Article III, Section 3 of the U.S. Constitution. The word “or” in the phrase “or adheres
to their enemies” means the two conditions are exclusive of each other. The dictionary
meaning for the word “adheres” is: “believe in and follow the practices of.” Defendants
appear to be taking their political cues from the Putin/KBG playbook for holding onto
power indefinitely as authoritarian rulers; the exact circumstances our Founding Fathers
wished to prevent when writing our Constitution. Can Defendants’ actions reasonably be
construed as willful aiding and abetting a hostile foreign adversary; i.e. treasonous acts as

per Article III, Section 3 of the U.S. Constitution and 18 U.S. Code § 2381?

 

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Title 15 of the United States Code outlines the role of commerce and trade and includes
the Federal Trade Commission Act. The Federal Trade Commission (FTC) enforces
federal consumer protection laws that prevent fraud, deception and unfair business
practices. 15 U.S. Code § 45 (Unfair methods of competition unlawful; prevention by
Commission); 15 U.S. Code § 52 (Dissemination of false advertisements); and 15 U.S.
Code § 54, (False advertisements; penalties) fall under Title 15. The basic premise of the
codes is encapsulated in 15 U.S. Code § 45(a)(1):

“Unfair methods of competition in or affecting commerce, and unfair or deceptive
acts or practices in or affecting commerce, are hereby declared unlawful.”

An argument can be made that the election of a president, senators and house members
affect commerce through the policies they would put into place once elected. Therefore
political campaign ads would ultimately affect commerce. For more than a decade the
writer has been alarmed by the ever increasing deception in political advertisements. She
expressed her concerns to the FTC, her legislators, and media just to be told that statutes
pertaining to false advertising don’t apply to political ads because of the First
Amendment. This is illogical. Our democracy depends on voters being able to validate
the truthfulness and origins of the information they consume through media. Such
information could, and should, be thought of as a product being consumed by the
public/voters. The ingredients of this product affect the mind in the same way
ingredients in a food product affect the body. Freedom of speech is not absolute.
Common limitations placed on freedom of speech, and long-held to be constitutional by
the Supreme Court, relate to libel, slander, obscenity, pornography, sedition, incitement,

fighting words, classified information, food labeling, the right to privacy, dignity, public

 

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security, and perjury. Justifications for such limitations include the harm principle
proposed by John Stuart Mill in “On Liberty”, which suggests:

“[T]he only purpose for which power can be rightfully exercised over any
member of a civilized community, against his will, is to prevent harm to others.”

The essential premise behind false and deceptive advertising is to prevent harm; is it then
constitutional to exempt false political advertising (and political speech by political

candidates) from prosecution under 15 U.S. Code § 52 and 15 U.S. Code § 54?

The First Amendment to the United States Constitution has a much quoted clause:

“Congress shall make no law...abridging the freedom of speech, or of the press.”

This precept is behind the most basic ethical tenet of journalism in the United States: the
press is independent of government. Freedom of speech as it pertains to the “press” in
this clause includes not just a right but an intrinsic duty to the public. Freedom of the
press is critical to a democracy in which the government is accountable to the people. A
free media functions as a watchdog that can investigate and report on government
wrongdoing. It plays a vital role in informing citizens about public affairs and
monitoring the actions of government at all levels. To perform its intrinsic duty to the
public and its proper role in our democratic form of government the press must be fact
based and independent of government. The public must trust that the press is fact based
and independent of government. The “press” as our Founding Fathers knew was nothing
like media today with technologies like television, computers, and the internet capable of
reaching millions of voters within seconds. Their objective was to make sure press was
free of government retaliation and could openly criticize elected officials. Unfathomable

to them was any notion that a President of the United States, Senators, and a media

 

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conglomerate such as Defendant Fox would conspire to lie to the public, stoke division
and hatred among the people and deliberately, and unconstitutionally, fuel public distrust
of the press; thus undermining the intent of the First Amendment. The following
constitutional questions all pertain to the First Amendment, free press vs. government

press and political speech:
A. Does/has Defendant Fox operate as a government press; and is this constitutional?

B. Is it constitutional, or is it abuse of power in violation of the First Amendment, for a
president, senators, other congressional members and elected representatives to call

media (press) they don’t like “Fake News” or “The Enemy of the People’’?

C. Is false speech by a president, a senator, or other members of congress that politicizes
a pandemic, i.e. Covid-19, and that ultimately results in hundreds of thousands of

unnecessary deaths, protected speech under the First Amendment?

D. Is speech by a president, a senator, or other members of congress that incites
violence, and results in actual acts of violence, intentional or unintentional, protected

speech under the First Amendment?

Following are facts pertinent to these constitutional questions in no particular order.

“The press was to serve the governed, not the governors.”
—U.S. Supreme Court Justice Hugo Black in New York Times Co. v. United States (1971)

 

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ABUSE OF POWER TO SUBVERT THE FIRST AMENDMENT AND DEMOCRACY
(Applies to Question 23. A, B, D)

Rupert Murdoch built his media conglomerate, Defendant Fox, with an objective to
enhance his political power. His method is based on synergy with government — that is, his
control of more and more media entities wouldn’t be possible unless government officials
bestowed deregulatory favors upon him, and those favors become easier for him to extract as his
ever-growing control of the media makes those officials fear the consequences of saying no. His
support of political figures who’ ll give him what he wants has helped fuel the rise of right-wing
xenophobic populism in the United States, the United Kingdom, and Australia, all of which are
suffering the consequences of the chaos that Murdoch unleashed. Trump’s Republican
nomination for President in 2016 transformed Defendant Fox from a combative, conservative
network at least occasionally tethered to facts, into what it is today: a propaganda arm of the
Trump administration that spews lies and conspiracy theories without regard for the public good.

Defendant Fox is intertwined with government by design.

The First Amendment Does Not Protect A Deceptive Government Press

Defendant Fox violates the power of its First Amendment right to freedom of speech by
failing to respect its First Amendment duty to the public good and to the Constitution. Fox’s
First Amendment abuse created an ideological chasm between voters who predominately
consume Fox “news products” and voters who consume news from many other media sources;
and who typically fact-check their news sources. In a lawsuit against Defendant Fox’s TV
personality Tucker Carlson, a lawyer for Fox News argued that:

“Tucker Carlson Tonight” is “a commentary show...Tucker Carlson doesn't have an

obligation to investigate the truth of statements before making them on his show, and his
audience doesn't expect him to report facts.”

 

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It is not true that “his audience doesn't expect him to report facts.” Jane Doe has friends
and relatives who exclusively consume Defendant Fox’s news products; and they believe
everything Tucker Carlson and other Fox TV hosts including Sean Hannity, Jeanine Pirro, Laura
Ingraham and Lou Dobbs say to be true. They refuse to believe anything that originates from
any other news source. They believe other sources of news are “Fake News” because Fox TV
personalities, Defendants and other Republican operatives repeatedly tell them so. Jane Doe’s
friends and relatives believe all the false conspiracy theories touted by Fox TV personalities; the
exact same false conspiracy theories and disinformation promoted by Russian agents, as per U.S.
Intelligence agencies. It is as if her friends and relatives live in an alternative universe. It’s
impossible to reason with them. Like during the U.S. Civil War families are being pitted against
one another. This appears to be the objective of the Russian disinformation campaign touted by

Defendants.

Defendant Fox is interdependent on and in collusion with the personal political and
financial objectives of Defendants Trump, McConnell and others. The Trump administration has
hired or appointed numerous staff members from Defendant Fox. Trump regularly seeks advice
from Defendant Fox’s TV hosts Sean Hannity, Tucker Carlson, Jeanine Pirro, and others who are
not subject to government ethical standards or accountable to voters. Their suggestions have
become government policy and adversely affect the lives and civil rights of Plaintiffs. Trump’s
horrific mishandling of the COVID-19 pandemic that caused nearly 262,000 preventable deaths
is a perfect example of the harm caused by the unnatural synergy and relationship between
Defendants Trump and Fox. Defendant Fox is government press masquerading as “free press” to

deceive nearly half the American population. Throughout his Presidency Trump maintained the

 

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unswerving support of Fox opinion hosts Tucker Carlson, Sean Hannity, Lou Dobbs, Laura
Ingraham, Jeanine Pirro and others. Trump’s love of Fox News is well-documented. He spends
hours watching (and live-tweeting) Fox programming. His administration hired numerous
former Fox News reporters and contributors to serve in both high-level cabinet and deputy chief
of staff posts, as ambassadors, and in communications roles at federal agencies. Several former
Trump administration officials left the White House to work at Fox creating a well-oiled

revolving door between Defendant Fox and the Trump administration:

Trump Admistration Fox News Revolving Door

 

 

 

 

 

 

 

 

 

 

 

 

I. [Hope Hicks White House communications director; corporate communications at Fox; Top White Hause aide;
2 Sarah Huckabee Sanders White House press secretary; on-air commentator at Fox;
3. Ray Shah White House Deputy Press Secretary; Senior Vice President at Fox;
4, [David Bossie Trump Deputy campaign manager; on-air analyst at Fox
5. Thomas Homan Trump's former acting ICE Director; Fox News contributor
6 Bill Shine Fox News executive; Trump's deputy chief of staff for communications; Trump reelection campalgn official
7. |Heather Nauret Co-anchor of 4€ceFox & Friendsa€; Trump State Department spokeswoman
8. |Sebastian Gorka Fox News contributor; Deputy Assistant to the President; Fox News contributor;
Trump's Transportation Secretary, Fox News contributor and a board member of News Corporation, previousty Fox News's parent company;
9. {Elaine Chao Note: Elaine Chao is also Defendant McConnell's wife
10. |John Bolton 4 long-time Fox contributor; Trump's National Security Advisor;
il, |Mercedes Schlapp Fox analyst; White House director of strategic communications;
12, |Ben Carson Fox Analyst; Trump's Housing and Urban Development Secretary;

 

13, |Former US Senator Scott Brown On-air Fox analyst; Trump's Ambassador to New Zealand;

 

 

 

 

 

14. |Richard Grenell Fox contributor; Trump's US Ambassador to Germany;

15, |Georgette Mosbacher Fox contributor; Trump's US ambassador to Poland;

16, |Anthony Scaramucer Fox Business analyst, host of Foxd€™s a€ceWall Street Weekd€; Trump's infamous 10-day White House communications director;
17. |K.T. MacFarland Fox national security contributor; White House staff member under former National Security Advisor Michael Flynn

18. |Tony Sayegh GOP strategist and Fox News contributor; Trump's Treasury Department spokesman

 

Former Fox joutnatist; Trump State Departnient's spacial envoy for the Global Engagertent Center, whith seeks to combat disinformation

 

 

around the world {Note: This would be laughable if tt weren't so dangerous since Defendant Fox is one ofthe worst spreadars of
19. |Lea Gabrielle disinformation worldwide}
20. |Morgan Ortagus Fox contributor; Trump State Department spokeswoman

 

Fox oroductien as: ti Trump's body man during 2016 campaign and the first year of his administration (Note: He was fired in May 2018
21. |John McEntee after the Department of Homeland Security raised concerns about his gambling habits.)

 

 

 

 

 

 

This dichotomy created a chasm so deep that voters in the United States now live to two
distinctly different and alternative realities; one primarily fact based and the other based on
politically useful fiction and conspiracy theories perpetrated on our country by Russia and Iran
with intent to inflict damage on our democracy and on our nation’s standing in the world. The
end of the Trump Presidency will not end this dangerous erosion of our constitutional rights, our

rule of law and our constitutional separation of powers. Unless stopped Trump, McConnell and

 

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Republican operatives will continue to abuse their relationship with Fox to deceive half of
American voters and rile up their emotions to incite violence against their opponents. Trump got

away with it, so they are emboldened to continue along this path unless they are stopped.

Presidential Use of “Fake News” and “Enemy of the People” Is Abuse of Power

The term “Fake News,” coined by the Trump administration casts all journalists, except
those that agree with him, as the “enemy of the people.” This is a negative branding campaign
aimed against those who would hold Trump accountable for his actions as President. The critical
role the press and journalists play in a democracy to keep the public informed and hold
government officials accountable cannot be overstated. Consider the killing of Saudi journalist
Jamal Khashoggi at the Saudi consulate in Istanbul, Turkey, on October 2, 2018. Khashoggi
wrote a regular Washington Post column. He was lured to the consulate building on the pretext
of providing him papers for his upcoming wedding and was ambushed, suffocated, and
dismembered by a 15-member squad of Saudi assassins on the orders of the Saudi Crown Prince.
Khashoggi's final moments are captured in audio recordings with transcripts made public. The
Saudi government covered up and Trump defended them and downplayed U.S. Intel by saying:

“Maybe he did, maybe he didn’t.”

The late Sen. John McCain (R-AZ) forewarned of these dangers on January 16, 2018
when he called out Trump for his “unrelenting attacks” on the press in an op-ed for The
Washington Post. McCain wrote:

“The phrase "fake news" — granted legitimacy by an American president — is being
used by autocrats to silence reporters, undermine political opponents, stave off media
scrutiny and mislead citizens.... Trump's attempts to undermine the free press also make
it more difficult to hold repressive governments accountable. For decades, dissidents and
human rights advocates have relied on independent investigations into government

 

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corruption to further their fight for freedom. But constant cries of "fake news" undercut
this type of reporting and strip activists of one of their most powerful tools of dissent.

On February 19, 2017 McCain said in an interview on NBC News, “Such talk was how
dictators get started...In other words, a consolidation of power...” And he told “Meet the Press”

host Chuck Todd from Munich:

“When you look at history, the first thing that dictators do is shut down the press....we
need to learn the lessons of history.”

Gabriel Sherman, national affairs editor at New York magazine, described it as “full-on
dictator-speak.”” New York Times wrote:
“Enemy of the people is a phrase typically used by leaders to refer to hostile foreign

governments or subversive organizations ...It also echoed the language of autocrats who
seek to minimize dissent.”

Adolf Hitler’s administration deployed this rhetoric to describe Hitler’s main enemy: the
Jews. “Each Jew is a sworn enemy of the German people,” Propaganda Minister Joseph
Goebbels wrote in 1941:

“Tf someone wears the Jewish star, he is an enemy of the people. Anyone who deals with

him is the same as a Jew and must be treated accordingly. He earns the contempt of the

entire people, for he is a craven coward who leaves them in the lurch to stand by the
enemy.”

We all know what Hitler incited the German people to do to Jews with this rhetoric.
Leaders of the Soviet Union transformed “enemy of the people” into a major tool for oppression
and silencing enemies. Vladimir Lenin, founder of the Bolsheviks, used “the peoples’ enemies”
to stigmatize anyone who didn't fall into line when the revolution happened. Enemies of the
people were ostracized and even their friends were under suspicion. For foes of Joseph Stalin,
being branded an enemy of the people was a death sentence. The Soviet leader deployed that
language against politicians and artists he didn't like. Once branded, the accused were sent to

labor camps or killed. Best case? An enemy would be denied education and employment.

 

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Mitchell Orenstein, professor of Russian and East European studies at the University of
Pennsylvania, told Voice of America in February 2017:
“Tt is one of the most controversial phrases in Soviet history for both Lenin and Stalin,

journalists and intellectuals who didn't share their point of view were among the most
hated enemies.”

University of Washington professor Serhiy Yekelchyk told VOA. “Jn attacking them,
both appealed to the people.” Chinese dictator Mao Zedong deployed the phrase against people
critical of his policies and dictates. The leader, who created a famine that killed 36 million
Chinese, was obsessed with identifying and rooting out his enemies. As Zhengyuan Fu explained
in “Autocratic Tradition and Chinese Politics”, every member of Chinese society, even children,

were called on to root out the landlords, teachers, intellectuals and artists who opposed Mao.

Defendants have been consistently warned about the damage caused to our democracy
and democracies worldwide by their “fake news” rhetoric; yet they continue to systematically
hurl it out to disparage journalists and cause public distrust of the news media and journalism.
Any reasonable person would deduce Defendants’ intent is to incite threats and attacks on, and
the murders of, reporters like Khashoggi. They willfully follow the guide book for dictators and
autocrats throughout history. This abuse of power cannot be tolerated in a democracy; or that
democracy is doomed to fail and fall into the hands of a dictator or autocrat. It is an abomination
to the Framer’s objectives when writing the First Amendment. It is not protected speech; it is the

epitome of unconstitutional speech.

The founders of the United States were suspicious of the tendency of government, even
the best-intentioned government, to become tyrannical. For this reason, the authors of the First

Amendment envisaged the press, despite all of its imperfections, as a kind of critic, with a role

 

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apart and distinct from that of government. The intent of the founders was that the press and

government should not become institutional partners.

Defendants Engage in Stochastic Terrorism

The key elements to terrorism are 1) violence, 2) noncombatant targets, 3) intention of
spreading fear, and 4) political aims. Defendant Trump’s intention is not a secret. At the first
presidential debate in September Trump said: “Proud Boys, stand back and stand by...Somebody
has got to do something about antifa and the left.” Members of the group online took this as a
call to prepare for action. Since Trump gained political power and became the spokesman for
the Republican Party the number of fringe groups engaged in politically motivated violence,
including the Proud Boys has escalated. Now these radicalized and violent Trump supporters are
patrolling the streets in Plaintiffs’ states. They’re a threatening presence waiting to take violent

action on behalf of Trump to overthrow the newly elected government in a coup.

The Proud Boys and other alt-right white supremacy groups empowered by Defendants
have committed dozens if not hundreds of acts of violence against those who criticize Trump. In
past election cycles Jane Doe never feared displaying bumper stickers, yard signs etc for her
chosen political candidates; but during the 2020 election as much as she wanted to; she did not
because she was afraid it would make her a target for violence from riled up Trump supporters

who take their directive from Trump.

Defendants, and others like them in the future, should not be allowed to hide behind the
First Amendment to get away with acts that deprive other Americans of their First Amendment

rights; or acts that suppress the vote of supporters of their political opponents; or acts that violate

 

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the civil rights of voters for their political opponents; or acts to usurp the rightfully elected

President and his government.

Lone wolf terrorist attacks have increased dramatically during the Trump Presidency.
The term “lone wolf’ was popularized by white supremacists Louis Beam, and Tom Metzger in
the 1990s. Metzger advocated individual or small-cell underground activity, as opposed to
above-ground membership organizations, envisaging: “warriors acting alone or in small groups

who attacked the government or other targets in “daily, anonymous acts”

Though these individuals seem to be acting alone, they often have ties with terrorist
organizations for example, terrorist backed online content. The term “lone wolf” is used by U.S.
law enforcement agencies to refer to individuals undertaking violent acts of terrorism outside a
command structure. The FBI and San Diego Police's investigation into the activities of a self-
professed white supremacist, Alex Curtis, was named “Operation Lone Wolf” largely due to
Curtis' encouragement of other white supremacists to follow what Curtis refers to as “lone wolf”
activism. Recent scholarship and news reports have used the terms stochastic terrorism and
scripted violence to describe how lone-wolf terrorism functions as a way to mobilize an attack
with no direct connection between the rhetorical call to action and the parties making that call.
Defendants have time and again made calls to their lone-wolf terrorists with ties to radicalized
alt-right political groups and the Republican Party to engage in violence towards, and even
murder of, those they perceive to be Democrats. Trump’s Proud Boys and groups like them

openly state that civil war is their objective, making Vladimir Putin rejoice in ecstasy.

Jane Doe’s state went to Trump in the 2016 election but was a swing state for Biden in

the 2020 election. Trump’s “Proud Boy” squads drove around in pickup trucks with large

 

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American flags, big Trump signs wielding guns in areas surrounding her home because of
Defendants’ false narratives, They are standing back and standing by for further orders from
Trump to take up arms against their neighbors. Trump, although the definitive loser of the 2020
election has refused to concede to Joe Biden. Defendant McConnell and Republicans have done
nothing to stop Trump’s blockage of a peaceful transition of power. This disenfranchises

Plaintiffs who are Biden voters; violates their civil rights and causes them injury.

Trump has filed multiple frivolous court cases in swing states to, in his own words, “stop
the vote.” Even though they have been thrown out of court the danger of his tactics still exists.
His personal attorney Rudy Giuliani continues to file frivolous lawsuits. (Normally attorneys
who file such frivolous lawsuits would be reprimanded by the courts, yet again Trump appears
above the law.) Giuliani admits he has no evidence of fraud in court before a judge where he is
required to produce evidence; yet he says the opposite in public through Defendant Fox. The
objective of this fraud scheme is to keep Trump’s base riled up and thinking that the election was

stolen from him to keep donations flowing to Trump.

Trump’s Big Election Lie Pushes America Toward Autocracy

Clinging to power by claiming you are the victim of internal enemies is a very dangerous
tactic. What we face now in the United States is a new, American incarnation of the old
falsehood: that Trump’s defeat was not what it seems, that votes were stolen from him by
internal enemies — by a left-wing party. Trump tweets: “Where it mattered, they stole what they
had to steal.” He claims that his votes were all “Legal Votes” as if by definition those for his

opponent were not. A claim that an election was illegitimate is a claim to remaining in power. A

 

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coup is under way, and the number of participants is not shrinking. Few leading Republicans

have acknowledged Joe Biden won the election.

The Trump transition office refuses to begin its work. Trump fired the secretary of
defense, who did not want the army attacking civilians. The Department of Justice, exceeding its
traditional mandate, has authorized investigations of the vote count. The talk show hosts on
Defendant Fox contradict the news that Biden won released by Fox last week. Republican
lawmakers find ever new verbal formulations to directly or indirectly support Trump’s claims.
The longer this goes on, the greater the danger to the Republic. Plaintiffs seek immediate

injunctive relief to stop it.

Underestimating Trump’s propensity to violate the law is a mistake. He is an actor and
will stick to his lines: It was all a fraud, and he won “by a Jot.” He was never defeated, goes the
story; he was a victim of a conspiracy. This stab-in-the-back myth could become a permanent
feature of American politics, so long as Trump has a bullhorn, be it on Defendant Fox or on RT
(formerly Russia Today). Failing to put an end to this now will result in the loss of our

democracy in the near future.

Thomas B. Edsall in the New York Times on Nov. 11, 2020 opined that Trump’s refusal
to concede that he lost the election is taking us into dangerous territory. He asked a number of
American historians and constitutional scholars for comment. Jonathan Gienapp, Professor of
history at Stanford and author of “The Second Creation: Fixing the American Constitution in the
Founding Era,” noted that there have been close, contested elections in the past:

“But none of these earlier examples featured what we see now: a completely

manufactured controversy based on no evidence whatsoever, purely to maintain power,

 

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and to overturn a legitimate election....Trump’s refusal to concede and his congressional
allies’ refusal to object to what he is doing is indeed most dangerous....If it continues to
be given oxygen, it’s hard not to think that there could be lasting damage to the

republic...This is what rot looks like.”

“Fighting Words” That Incite Violence Are Not Protected By First Amendment

Trump officially announced his candidacy for President in June 2015 and wasted little
time inciting fear and hate in his first speech. That year, critics argued that his language led to
attacks on bystanders. Acts of violence in some cases were directly linked to Trump’s words. In
2016, a white man told officers “Donald Trump will fix them” while being arrested for
threatening his Black neighbors with a knife. That same year, a Florida man threatened to burn
down a house next to his because a Muslim family purchased it, citing Trump’s Muslim ban
made it a reason for “concern.” There’s the mass shooting in El Paso, Texas, in 2019 that left 23
dead, where the shooter’s manifesto parroted Trump’s rhetoric about immigrants. Trump’s
campaign rallies have been incubation grounds for violence where Trump spewed hate speech
encourages physical harm against dissenters. Trump uses his platform as President to encourage
violence against citizens, whether through the police and National Guard or militia groups.
Trump made it clear peaceful protesters — those out demonstrating against police brutality and
systemic racism — should be met with force in direct violation of the First Amendment of the

Constitution. He’s already musing about running again in 2024.

In October while the U.S. Department of Justice indicted six men affiliated with alt-right
militia groups with conspiracy to kidnap Michigan Governor Gretchen Whitmer, Trump lashed
out at her during a rally in Lansing, Michigan criticizing her for imposing too many restrictions

to prevent the spread of Covid-19. He worked the crowd into frenzy until they chanted his

 

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infamous favorite phrase for his political opponents: “Lock Her Up! Lock Her Up!” Since when

is it a crime to save people’s lives?

Freedom Of Speech Is Not Absolute

The CIA’s most endangered employee for much of the past year was not an operative on
a mission abroad, but an analyst who faced a torrent of threats after filing a whistleblower report
that led to the impeachment of President Trump. The analyst spent months living in no-frills
hotels under surveillance by CIA security, driven to work by armed officers in an unmarked
sedan. On rare occasions when allowed to reenter his home to retrieve belongings, a security
team had to sweep the apartment first to make sure it was safe. Trump’s verbal attacks on those
who criticize him have in fact resulted in threats of violence and actual violence against those he
attacks. This causes Plaintiffs severe and undue stress, anxiety, fear and emotional distress.

Plaintiffs pay the ultimate price for Trump’s public attacks which have continued unchecked.

The President of the United States the most powerful individual in the world. As such his
words have more power than any other individual in the world. Trump, during his term as
President egregiously violated long established norms of speech and conduct adhered to by past
Presidents. He unconscionably violated the unspoken civil code of conduct relegated to any
office of public trust, let alone the Presidency; and abused the power of his office to directly and
willfully undermine the Constitution and destroy our government from within. Listed below in
reverse chronology is a mere handful of the numerous acts of violence directed against
Democrats elected to Congress, Democrat Governors, residents of “Blue States” as Trump refers
to them, and voters for Democrats incited by the “fighting words” of Trump and broadcast by

Defendant Fox:

 

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Violent Acts Incited by Defendant Trump and Defendants' Complacency

 

November Post-election

Headlines across the country: “What happens if Trump refuses to concede US election?” In September 2020 in response
to a question, the president complained about mail-in ballots and said: “There won't be a transfer, frankly. There will be
a continuation.”

 

November 8, 2020

A Trump administration appointee refused to sign a letter allowing President-elect Joe Biden's transition team to formally
begin its work; another sign Trump plans to disrupt the transfer of power.

 

November 5, 2020

Stephen K. Bannon, former White House Adviser to Trump known for his right-wing extremism, suggested that F.B.1.
director, Christopher A. Wray, and Dr. Anthony S. Fauci should be beheaded.

 

November 1, 2020

Ata late night rally in Miami less than 30 hours before Election Day, Trump insisted Americans wouldn't be hearing about
COVID-19 after Election Day. “Don't tell anyone. But let me wait until after the election.” He then riled the crowd into a

”

chant “Fire Fauci! Fire Fauci! ...

 

November 1, 2020

New York Times Headline: “Trump Backers Block Highways as Election Tensions Play Out in the Streets” Vehicles with
Trump flags halted traffic on Sunday on the Garden State Parkway in New Jersey and jammed the Mario M, Cuomo Bridge
between Tarrytown and Nyack, N.Y....pro-Trump convoy in Virginia ended in a tense shouting match with protesters as it
approached a statue of Robert E. Lee in Richmond...In Georgia, a rally for Democrats was canceled ...organizers worried
about what they feared would be a “large militia presence” drawn by President Trump’s own event nearby... Trump
supporters in Texas, driving trucks and waving Trump flags, surrounded and slowed a Biden-Harris campaign bus...In
Graham, N.C., a get-out-the vote rally on Saturday ended with police using pepper spray on some participants, including
young children, and making numerous arrests.

 

October 18 2020

U.S. Department of Justice charged six men with conspiracy to kidnap Michigan Governor Gretchen Whitmer, a Democrat.
On the same day, Michigan AG Dana Nessel brought charges against seven other men that included supporting terrorisrn,
gang membership, and possession of a firearm in commission of a felony. Officials said the suspects were attempting to
trigger “civil war” with a detailed plan to abduct the governor and attack other elected officials at the Statehouse,

 

October 9, 2020

At a briefing Vermont Governor Phil Scott, a Republican, said elected officials “but especially at the tap, must realize that
words matter” and that rhetoric can lead to violence.

 

 

August 27, 2020

Shawn Peter Simonson, 51, was arrested and charged with threatening Minnesota Governor Tim Walz. In New Mexico,
Governor Michelle Lujan Grisham sald news of the arrest of 13 men accused of planning the overthrow of Michigan’s
government rattled members of her family. She said she started to get calls from her daughters who were terrified and
who were often included in some of the negative messaging. Early on in this pandemic one of the threats was “I hope
your grandchildren get COVID.”

 

August 5, 2020

Dr. Fauci reveals he's received death threats and his daughters have been harassed for his high-profile statements about
the Covid-19 pandemic. He's been a consistent proponent of mask wearing to stop the spread of the virus and has
publically de-bunked several of Trump’s nonsensical and dangerous public claims about the virus, Quoting Fauci:
“Getting death threats for me and my family ond harassing my daughters to the point where ! have to get security is
just, | mean, it’s amazing.”

 

April 2019

Rep. IIhan Omar (D Minn.) faced increased death threats after Trump spread around a video falsely purporting to show
her being dismissive of the 2001 terrorist attacks. Omar told reporters that since Trump re-tweeted the video she
received many threats on her life that referred or replied to the posted video. House Speaker Nancy Pelosi took steps to
ensure the safety of the Minnesota Democrat and called for Trump to take down the video. It wasn’t.

 

March 15, 2019

Two consecutive mass shootings occurred at mosques in Christchurch, New Zealand. The attack was carried out by
Brenton Harrison Tarrant, a 28-year-old man from Grafton, New South Wales, Australia. He killed 51 people and injured
40. He’s described as a white supremacist and part of the alt-right. Prior to the attack he published an online manifesto.
He’s a supporter of U.S. President Trump as “a symbol of renewed white identity and cammon purpose".

 

October 2018

Cesar Sayoc mailed 16 improvised explosive devices to 13 targets around the country, including Vice President Joe Biden,
Sen. Cory Booker, former CIA Director John Brennan, former Director of National Intelligence James Clapper, former
Secretary of State Hillary Clinton, CNN, Robert De Niro, Sen. Kamala Harris, former Attorney General Eric Holder, former
President Barack Obama, George Soros, Thomas Steyer and Rep. Maxine Waters (All Democrats). Sayoc’s attorneys

argued that he was motivated by his obsession with Trump and his anger at Democrats.

 

August 15, 2017

Trump held a news conference in which he spent a lot of time blaming what he called the “alt-left” for disrupting the
Unite the Right march. A reporter asked: “The neo-Nazis started this. They showed up in Charlottesville to protest —"
Trump interrupted: “Excuse me, excuse me. They didn’t put themselves — and you had some very bad people in that
group, but you also had people that were very fine people on both sides. You had people in that group. Excuse me,
excuse me. | saw the same pictures os you did. You had people in that group that were there to protest the taking down
of, to them, a very, very important statue and the renaming of a park from Kobert k. Lee to another name.”

 

August 12, 2017

During a Unite the Right rally James Alex Fields Jr. deliberately drove his car into a crowd of peaceful protesters in
Charlottesville, Virginia, killing of 32-year-old Heather Heyer and injuring 19 others. Charlottesville became a magnet for
as many as 17 different far-right white supremacist neo-Nazi nationalist self-proclaimed militia groups because the city
wanted to take down its statue of Confederate General Robert E. Lee. These white supremacist groups couldn’t care less
about Robert E. Lee except to use this statue for their despicable cause; they wanted the world to see them marching in
force. Anyone who showed up was knowingly joining a white supremacist rally.

 

 

 

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The aforementioned incidents of violence are only a fraction of those incited by
Defendants. What should be plain by now is that each crisis since the start of the Trump 2016
campaign and the beginning of the Trump Presidency has escalated in the frequency and
intensity. Murderous acts of hate have occurred, on a national scale, several times weekly and
monthly AND CONTINUE UNFETTERED. To quote Georgia election official Gabriel

Sterling, “Jt has to stop!”

POLITICIZATION AND WEAPONIZATION OF COVID-19 CAUSED UNNECESSARY DEATHS
(Applies to Question 23 C)

Jane Doe has a medical condition that required her to wear a mask in indoor public
spaces long before COVID-19. She had experienced occasional questions about why she wore a
mask and sometimes children pointed at her, but never did she fear for her safety simply because
she had to wear a mask until Defendants politicized the COVID-19 pandemic and the wearing of
masks as a “Democrat Hoax”. Trump supporters then publically ridiculed her and called her
names like “Libtard.” This changed when the number of COVID-19 cases in her State rose to
more than 200,000 and deaths exceeded 6,000. Although the Republican governor refused to
issue a mask mandate mayors of large cities in her state did and the COVID-19 infection/death
rate dropped by 75%. Jane Doe no longer feels threatened for wearing a mask, but the
weaponization of COVID-19 by Defendants caused hundreds of thousands of unnecessary
deaths. Surviving family members suffered loss of income and undue distress. In addition many
of those who survived the Covid-19 virus will suffer lifelong adverse health consequences.
Defendants’ political supporters by and large refuse to wear masks taking their cue from
Defendants, so they put others, including Plaintiffs, at risk for contracting the virus. Culpability

for spreading the deadly virus and the consequences to those who contract the virus (lifetime

 

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disability and death for some) is borne by those who refuse to wear the mask, but the greatest
culpability lies with the Defendants. Those injured by their negligent actions should be able to
seek restitution against these culpable parties; Defendants should not be permitted to

unconstitutionally hide behind the First Amendment. Justice demands restitution.

Defendants Are Culpable; Restitution to Victims Warranted

The phrase “knew or should have known” is common in determinations about legal
culpability for actions that result in death or injury to others. Culpability, or being culpable, is a
measure of the degree to which a person can be held morally or legally responsible for action and
inaction. Culpability therefore marks the dividing line between moral evil, like murder, for
which someone may be held legally responsible and a randomly occurring event, like

earthquakes, for which no human can be held responsible.

Already some of Defendant Fox’s victims have filed civil lawsuits seeking restitution but
these lawsuits have been summarily dismissed citing Defendants First Amendment protections.
Defendant Fox willfully promoted what it knew was false and misleading information about the
Covid-19 pandemic and this deception caused millions of people to become unnecessarily
infected with the virus and resulted in 262,000 deaths. Defendants should not be able to hide
behind the First Amendment to escape having to pay restitution to those they have injured.

DEFENDANTS ACTS AGAINST THE REPUBLIC ARE TREASONOUS
(Applies to Question 21)

Any reasonable person must conclude that Defendants’ intend to incite violence, sow
hatred, distrust and division; and to conspire to promote a disinformation campaign they know,

because they have been repeatedly told by U.S. Intelligence, originates with Putin’s Russian

 

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government. Their actions are purposeful and systematic and can only be construed as willful
aiding and abetting a hostile foreign adversary. A guilty person seldom admits intent. Intent is
proven by way of inference, including by use of circumstantial evidence, character evidence (e.g.
motive or animosity), post-offence conduct, statements made by the accused, or similar fact
evidence. Inferences are factual findings based on common sense. Trump’s Proud Boys and
groups like them openly state that civil war is their objective. 18 U.S. Code § 2384 (Seditious
conspiracy) makes it a crime:

“If two or more persons in any State or Territory, or in any place subject to the

jurisdiction of the United States, conspire to overthrow, put down, or to destroy by force

the Government of the United States, or to levy war against them, or to oppose by force

the authority thereof, or by force to prevent, hinder, or delay the execution of any law of
the United States...”

Defendant acts in concert with foreign adversaries. Their transgressions will not stop
with the defeat of Trump in the 2020 election. They are laying the groundwork for future

atrocities against the Republic; and voters civil rights.

Defendants Conspire to Delegitimize Election and Sabotage the Incoming Administration

Defendant Trump’s refusal to acknowledge his loss in the 2020 election is a refusal to
acknowledge the people’s will. His intent is to delegitimize the election to keep his lone wolf
terrorists riled up and to encourage them to engage in their own personal war of revenge on our
government (totally disenfranchising Biden voters.) Before Trump leaves office on January 20,
2021 he plans to do as much damage as possible to our government and our national security, to
benefit Russia and other adversaries. Trump has thrust the Pentagon into significant turmoil
since the election. On November 9, 2020 he suddenly terminated Secretary of Defense Mark
Esper by tweet and installed Christopher Miller as acting secretary of defense. The next day he

asked Under Secretary of Defense for Policy, James Anderson, and Under Secretary of Defense

 

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for Intelligence and Security, Joseph Kernan, to resign to make way for Trump loyalists. Then
the Pentagon released a statement that Trump/Fox loyalists with no defense experience Anthony
Tata, Ezra Cohen-Watnick and Kash Patel had been promoted to key Pentagon roles. Then on
December 4, 2020 the public learns these Trump lackeys are blocking the Biden transition team
cutting off what would normally be a crucial national security resource for the president-elect.
Current and former officials have said these delays have impaired the Biden team’s ability to get
up to speed on espionage operations against Russia, China, Iran and other U.S. adversaries. Any
reasonable person must conclude Trump and his allies are committing treason and seditious
conspiracy against the United States.

SENATE IMPEACHMENT TRIAL IS NULL AND VOID; NEW_TRIAL IS WARRANTED
(Applies to Question 12)

Abundant evidence exists to prove Defendant Trump is a treasonous criminal.
Impeachment is the constitutional remedy to remove a criminal president from office, but this
remedy was rendered ineffective by Defendant McConnell. On the opening day of the
impeachment trial, the Senate, in a party-line vote of 53-47, approved an organizing resolution
establishing the ground rules for the trial and rejecting efforts by Democrats to compel the
testimony of witnesses and the production of documents. McConnell created the mistaken
impression that the Constitution does not provide any guidance about the impeachment process,
and that the procedures for the trial—including motions to call witnesses—can be determined by
a simple majority vote. However Supreme Court Justice Byron White, in a concurring opinion
in Nixon vy. United States (1993), a case involving the impeachment of federal Judge Walter
Nixon, found in the impeachment-trial clause of Article I, Section 3 a limitation on the method

by which the Senate can conduct an impeachment proceeding. The text of the clause states, “The

 

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Senate shall have the sole Power to try all Impeachments.” Justice White interpreted the word try
to mean that the impeachment proceeding must be in the nature of a judicial trial, and concluded
that “a procedure that could not be deemed a trial by reasonable judges” would be

unconstitutional. A trial without witnesses is no trial at all.

There is a widespread assumption among Americans that it is perfectly legitimate for the
trial to be conducted as a no-holds-barred partisan battle, with senators voting along party lines,
rather than impartially deciding the merits of the case. This is contrary to the Framers’ intent.
Hamilton regarded the upper chamber as “the most fit depositary” for the impeachment trial
because it provided “the necessary impartiality between an individual accused, and the
representatives of the People, his accusers.” The choice of the Senate made sense for the
Framers, who contemplated a republic without strong parties and a Senate whose members —
elected by state legislatures until the Seventeenth Amendment was ratified in 1913—-were
expected to function in a less partisan, more deliberative, and wiser manner than their popularly
elected counterparts in the House. The impeachment oath, which requires senators to “do
impartial justice,” is not a quaint ritual to be performed with a wink and a nod, but a procedure
required by the Constitution because the Framers intended the impeachment proceeding to be run
much like a judicial trial. Senators are thus constitutionally bound to follow what Justice White

described as “a set of minimal procedures.”

Before the impeachment trial began Defendant McConnell and several of his senate
lackeys publically announced they would not vote to convict and remove Trump from office. A
tainted jury is grounds for a mistrial. An impartial juror is someone capable and willing to

decide the case solely on the evidence presented at trial. A sitting juror's actual bias renders him

 

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unable to perform his duty and thus subject to discharge. Juror misconduct comes down to one
question: Was he/she able to set aside preconceived notions and truly be an objective juror?
Actual bias is defined as the existence of a state of mind on the part of the juror in reference to
the case, or to any of the parties, which will prevent the juror from acting with entire impartiality,

and without prejudice to the substantial rights of any party.

John Locke cautioned in his Two Treatises of Government, “Wherever law ends, tyranny
begins.”’ The public deserves a legitimate trial. Even though Trump has been voted out of office
he is still committing crimes against the people; and will continue to do so until January 20, 2021
and beyond. He will continue rile up his supporters with false claims that the election was stolen
from him; he will still be a serious danger to our democracy and our national security. Our
country needs to heal; a legitimate public impeachment trial will prove to all Americans the truth
about Trump and will go a long way towards healing the deep divides and anger caused by the
Trump/McConnell/Fox disinformation campaign.

POLITICIZATION OF VOTE BY MAIL CONSTITUTES VOTER SUPPRESSION
(Applies to Questions 16-18)

The Covid-19 pandemic caused many more Americans to vote by mail than ever before.
Jane Doe who is disabled voted by mail in prior elections without problems, but in 2020
Defendants politicized voting by mail; and Trump’s new appointment as Postmaster General,
Louis DeJoy, willfully slowed the USPS mail delivery specifically to suppress the voters for
Trump’s opponent Former Vice President Joe Biden. Jane Doe had to leave her safe shelter-in-
place and drive nearly 1400 miles to drop her ballot off in person. Defendants’ attack on mail-in

votes and the U.S. Post Office were deliberate acts to suppress Plaintiffs’ vote and to

 

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delegitimize the election. They deduced Democrats and independents would vote by mail
because they didn’t believe the pandemic was a “hoax” ie. they did not get their news
exclusively from Defendant Fox. When Trump’s lawsuits attempting to stop counting valid
ballots, particularly mail-in ballots and or ballots cast by black and Hispanic voters in swing
states, failed in the courts he attempted to subvert the will of the people and overturn the election
results by coercing Republican election officials and legislators in swing States to illegally
tamper with electors to illegally throw the election to Trump. Now his ongoing false claims
about winning the election continues to violate of voter rights because it casts doubt on the
legitimacy of the election and minimizes and marginalizes affected voters. It is also an illegal
fraud conspiracy scheme that’s objective is to scam Trump supporters into donating money to his
Leadership Pac. He and his co-conspirators have already illegally raised $200 million with the
false claim that the money is for his legal team to prove he, and not Biden, actually won the
election. Some of these funds will go to the Republican Party, the rest go straight into Tump’s
personal coffers.

PARTISAN GERRYMANDERING DISENFRANCHISES VOTERS
(Applies to Questions 16-17)

The unconstitutional scenario we live in would never be possible if Republican operatives
including Defendant McConnell had not engaged in decades long activities to subvert democracy
and rig state elections to favor of Republicans through gerrymandering. The same Republicans
that Trump attempted to coerce into engaging in an illegal conspiracy to overthrow the 2020
election results (with some success) achieved their own political power through unconstitutional
means; political gerrymandering which increases the weight of a Republican’s vote compared to

a Democrat’s vote for determining the outcome of elections. Republican strategist, Ben

 

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Ginsberg, said that in his book “Ratf**ked: Why Your Vote Doesn't Count” David Daley

 

exposed gerrymandering as:
“The strategy of shadowy, but thus far, legal hacking, splicing, and dicing of

congressional districts to secure Republican domination, and in turn, subvert the will of
the American voter.”

Former Wisconsin State Senator Dale Schultz (R) explains about gerrymandering, “/t
really represents legislators picking voters rather than voters picking legislators.” Schultz bere
admits gerrymandering was crucial to the Republican Party’s strategy to undermine democracy.
2010 was a Census year and Republican recognized control of state legislators would allow them
to redraw every congressional and state legislative seat in the country in 2011. Republican
operatives launched a $30 million strategic plan called the Redistricting Majority Project
“REDMAP” centered on flipping and winning control of state legislative chambers in swing
states like Pennsylvania, Michigan, Wisconsin, Ohio, North Carolina, and Florida. By winning
117 state legislative races in 2010 across these states they are able to lock in their party power,
not only to redraw all of their own maps, but to redraw the U.S. Congress. As a result in 2012,
Democrats won 1.4 million more votes for the U.S. House than Republicans, but Republicans
held onto the chamber, 234-201. Barack Obama’s second-term agenda became dead in the

House before his second term even began, disenfranchising his voters.

Election results in these very same “battleground” states: Pennsylvania, Michigan,
Wisconsin, Ohio, North Carolina, and Florida (along with surprise swing states Georgia and
Arizona) decided the 2020 Presidential election. Voters in those states have more voting power

to elect the President of the United States than voters in other states due to the “winner-take-all”

 

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method used by most states to allocate Electoral College votes. This violates the civil and voting

rights of voters who reside and vote in other states.

Partisan Gerrymandering and “Winner-Take-All” Electoral College Disenfranchises Voters

Partisan gerrymandering negatively affects voting rights. In recent years, gerrymandered
legislatures have pioneered other tools to make it harder for voters who oppose them to cast a
ballot. After the 2018 elections in North Carolina, Michigan, Pennsylvania, and Wisconsin the
party that won a majority of state legislative seats received only a minority of the total statewide
vote due to gerrymandering. These four states dramatically failed a basic test of democracy—
votes did not translate into political power. Gerrymandering has gone hand in hand with
increased voting restrictions in each of these states. Legislative majorities that received a
minority of the votes have used their unearned power to make it harder for citizens to cast a

ballot, further distancing themselves from accountability at the ballot box.

In 2013, the U.S. Supreme Court struck down a part of the VRA that required many
North Carolina counties to “preclear” voting changes with the U.S. Department of Justice to
prevent racial discrimination. Just one month later, the state’s Republican-controlled legislature
passed harsh new restrictions on voting, requiring strict voter ID to cast a ballot, cutting a week
of early voting and eliminating same-day voter registration, out of precinct voting and pre-
registration for 16-17-year-olds. Ultimately, the law was struck down by the 4th U.S. Circuit
Court of Appeals, which found the restrictions were intended to “target African-Americans with

almost surgical precision.” The U.S. Supreme Court declined to hear an appeal of the decision.

Just like with North Carolina Arizona saw a second generation of discriminatory voting

practices after the U.S. Supreme overturned parts of the VRA in 2013 — defined by strict voter

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ID laws and polling location closures, among other measures. Arizona has suppressed Black,
Latino and Native American voters for more than a century. Native Americans — as well as
other minorities in the state — remained disenfranchised en masse by a series of discriminatory
voting practices, policies and requirements. Earlier this year the 9th U.S. Circuit Court of
Appeals overturned two Arizona laws that made it more difficult to cast a ballot, noting the laws’
“discriminatory intent” and citing the state’s “long history of race-based voting discrimination.”

However they remained in place for the 2020 election, as state Republicans appealed the ruling.

Republicans in the Michigan Legislature blocked several bills between 2011 and 2016
that would have made it easier to register and vote. Frustrated by continued legislative inaction,
voting rights groups in Michigan, led by the American Civil Liberties Union, gathered signatures
for a ballot measure in 2018 to expand voting rights. By a 2-1 margin voters approved the ballot
measure which amended the state constitution to allow no-excuse absentee voting and same-day
registration during early voting and on Election Day. Any voter in Michigan can now apply to
receive an absentee ballot without an excuse—an option that has proven essential for helping
mitigate public health risks during the COVID-19 pandemic. Although a majority of voters
clearly favored these reforms, a ballot measure was the only way to enact them, as they stood
little chance of passing through Michigan’s gerrymandered Legislature. Notably Michigan
voters also passed an anti-gerrymandering ballot measure proposed by the grassroots group
Voters Not Politicians, transferring the power to draw districts from the Michigan Legislature to
a new Independent Citizens Redistricting Commission. Notwithstanding these advancements,
Michigan voters still face myriad of obstacles to voting. Michigan law continues to prohibit

anyone from hiring transportation services—such as taxis or rides through Uber or Lyft—to help

 

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voters reach their local polling place, unless the voter is physically unable to walk; and prohibits
anyone other than a family member from returning a voter’s absentee ballot application. Such
restrictions disproportionately disenfranchise young and elderly Americans, people of color, and
people with disabilities who may live far from polling places and lack reliable transportation or
who may require physical assistance in returning their ballots. Both laws are currently being
challenged in court, but the Republican Legislature majority has so far refused calls to eliminate
these restrictive requirements. The Republican Legislature, along with the Michigan Republican
Party and National Republican Committee intervened to defend both rules in the ongoing
lawsuit. In February 2020, Michigan Democratic Party Chair Lavora Barnes responded:

“When you deny communities a voice in our political process, that’s rigging the game.

When you fight to keep laws that disproportionately deny black and brown voters access
to the ballot, that’s ‘rigging the game.”

Rigging the game to benefit Republicans in North Carolina, Michigan and Arizona
doesn’t just disenfranchise voters in those states but also voters in other states because of the way
the Electoral College vote is implemented in most States.

ELECTORAL COLLEGE AS IMPLEMENTED DISENFRANCHISES VOTERS
(Applies to Question 18)

The Electoral College is biased toward battleground States. The “winner-take-all”
method for allocating electoral votes, not specified in the Constitution, unfairly disenfranchises
the power of the vote for millions of Americans living in other states. A candidate gets all ofa
state’s electoral votes whether he/she wins by one vote or a million votes. This method contains
an inherent risk of anti-majority outcomes where the winner of the national popular vote loses
the election for no high-minded reasons at all, as occurred in 2000 and 2016. There is no

incentive for candidates to campaign in non-battleground states.

 

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Republicans have specifically targeted voters in swing states to actively suppress the vote
of members of protected classes under the Civil Rights Act who they believe are more likely to
vote for Democrats. Defendants suppressed votes for the 2020 Presidential election in the swing
states of Pennsylvania, Michigan, Wisconsin, Ohio, North Carolina, Florida, Georgia and
Arizona. Biden/Harris voters voted in larger numbers than ever before in history because they
knew gerrymandering and voter suppression stacked the cards against them. Had Defendants
and their co-conspirators not been able to suppress the vote in these states, the popular vote for
Biden in these states would have been much higher and Trump would have likely lost North
Carolina where he won by a razor thin margin. The “winner-take-all” Electoral College method
for awarding electoral votes compounds and exponentially increases the “disparate impact” of
voter suppression. Voter suppression in any State affects the voting rights of voters in all States.

A POLITICIZED SUPREME COURT CANNOT JUDGE ITSELF
(Applies to Questions 13-17)

Confirmation for a life-time appointment of a Supreme Court Justice is more
consequential to the everyday lives of Americans than the election of a President whose term is
limited to no more than eight years. Any reasonable person would construe Defendant
McConnell’s changes to Senate rules for confirmation of Supreme Court Justices an act intended
to dismantle and usurp the constitutional separation of powers for his own political advantage
and undue personal enrichment; a blatant power grab by McConnell and the Republican Party
towards authoritarian rule. A Supreme Court majority beholden to one political party, in this
case Republicans, cannot be impartial. Such a Supreme Court cannot perform its intended
constitutional role as a separate power designed to check the power of the executive branch of

government. The public can have no faith in its ability to do so.

 

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Defendant McConnell and Republicans have publically said for a decade that it is their
intention to stack the Supreme Court with “conservative” Republican justices. Any reasonable
person must conclude their intent was to politicize the Supreme Court, an objective that clearly
undermines the constitutional separation of powers and violates their oaths of office. Defendant
McConnell’s and Senate Republicans’ politically motivated change to the vote threshold for
nominees to the Supreme Court was calculated to achieve this apparently unconstitutional
objective. The three justices confirmed during the Trump Presidency after McConnell changed
the senate vote threshold for confirmation should, to honor the constitution, voluntarily step-
down from their judgeships. To be fair they should each be re-nominated by President Biden and
go through a senate confirmation after the 60 vote supermajority is restored. Ifa nominee fails to
be re-confirmed then Biden can nominate another candidate for confirmation. This solution is
fair and would restore public confidence in the impartiality of the U.S. Supreme Court; a must
for our democracy to remain intact.

ABUSE OF PRESIDENTIAL PARDON POWER UNDERMINES RULE OF LAW
(Applies to Questions 3-11)

You don't need to be a specialist in constitutional law to feel deeply troubled by Trump's
abuses of the pardon power already exercised. The idea that the president’s pardon power is
absolute is misinformation with dire consequences for American democracy if not corrected.
The United States is not careening toward a constitutional crisis; we are already knee-deep in
one. Jane Doe was horrified by the Nixon pardons. Even though she voted for Nixon, after his
criminal activities were exposed she strongly believed he should not be above the law and should
have been held accountable for his crimes. The decision to pardon Nixon in September 1974 has

come back to haunt us 46 years later. The presidential pardon power has been continually

 

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abused ever since. It is time to settle this constitutional question. The future of our democracy

depends on it.

The latest Trump controversy involves allegations of a "bribery-for-pardon" plan as
described in documents released Monday by a federal judge. Apparently Justice Department
prosecutors investigated high-ranking Trump administration officials over a scheme that involves
payment of a large sum to the White House in exchange for a presidential pardon. A similar story
emerged nearly two decades ago involving President Bill Clinton and a fugitive financier named
Marc Rich. While Rich evaded arrest in the United States by living in Switzerland, his ex-wife
Denise, a political donor participated in a scheme to obtain a pardon for him by working through
intermediaries who had Clinton's ear. Suspiciously, her ex-husband was one of 140 people
granted pardons by Clinton in his final hours as president, but a Justice Department investigation

found no illegal behavior on Clinton's part.

Abuse of the pardon power is a bipartisan problem. In both the Trump and Clinton White
Houses, the usual clemency screening apparatus broke down. That became obvious on the last
night of Clinton's presidency, when he overwhelmed the pardon attorney's office (the entity in
the Justice Department responsible for processing petitions for pardons or commutations) with
clemency requests, making the usual background checks impossible to complete. Rich's
application benefited from the chaos of that last night; the pardon attorney later noted that the
petition violated federal regulations governing clemency applications and should have been
denied as a result. Clinton decided to proceed with the Rich pardon anyway, as he believed it
was his constitutional right. Plaintiffs challenge this notion. The Framers never intended the

pardon power to become a method for placing a president above the law. Normal screening

 

 

 

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processes for pardons must be restored and followed to restore public confidence in the claim
that “no one is above the law” in the United States. Trump is already said to be considering an

open ended pardon for himself, his family and other cronies in his corrupt administration.

The pardon power for offenses against the United States is granted to the President under
Article II, Section 2 of the United States Constitution which states that the President:

“shall have power to grant reprieves and pardons for offenses against the United
States, except in cases of impeachment.”

Defendant Trump is an impeached President. If it were not for the corruption of the U.S.
Senate under the leadership of Defendant McConnell he would have been convicted and
removed from office as constitutionally mandated. A president effectively freed from the check
of impeachment is a dangerous alteration in the constitutional balance of governmental power.
Public hope lays in the courts to enforce the separation of powers; but the aforementioned
politicization of the courts, particularly the Supreme Court, undermines public confidence in this
remaining check on executive abuses of power. The public can have no confidence in the
impartiality of the courts because Defendant McConnell has stacked the federal courts with right
wing Republican judges, many who are not even qualified.

RUSSIAN INTERFERENCE IN 2016 TO ELECT TRUMP PRESIDENT WORKED
(Applies to Question 23 A-D)

Some legal commentators and legislators contend that although we know the Russians
interfered in the 2016 election in behalf of Trump, we cannot prove this interference changed
votes or that the 2016 Trump campaign conspired with the Russians. Plaintiffs contend this is
faulty logic. First whether the Trump campaign conspired with the Russians was never fully

investigated due to the aforementioned unconstitutional DOJ memo. Second no investigation

 

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has been done to ascertain how many voters failed to vote because of the joint Russia/Trump
disinformation campaign, particularly in those swing states where Trump won by thin margins in
2016. Suppression of the black vote was a specific goal of the Trump/Russia campaign. No

reasonable person could conclude this voter suppression did not affect the outcome.

Jane Doe failed to vote in 2016 specifically because she believed the false derogatory
disinformation campaign propagated by the Russians against Hillary Clinton. She was deceived
into believing that both candidates were equally bad so she did not vote at all; therefore her vote
was suppressed by the Russian disinformation campaign. How many other voters fell for it?
When she discovered that the horrific things she believed about Hillary Clinton were false it is

impossible to describe the anguish and despair she felt.

Now Defendants with the Russians are propagating a false conspiracy theory that Trump
won the 2020 election but Democrats “stole” the election from him. He’s pressuring election
officials to falsify election records for submission to courts in violation of 18 USC §§ 241-242.
This is the epitome of election interference and criminal seditious conspiracy. Trump and his co-
conspirators need to be held accountable to re-establish public faith in the rule of law principle

“no one is above the law” whether or not they achieve the objective of their criminal conspiracy.

— Vay Woe

Jane Doe

c/o House Speaker Nancy Pelosi
1236 Longworth H.O.B.
Washington, DC 20515

 

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